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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

ALTERNATIVE DISPUTE RESOLUTION SUMMARY

Style of case: Sanders, Luther, et al. vs. Latshaw Drilling Company, LLC

Civil action number: 3:16-ev-01093-S

Nature of the suit: employment

Method of ADR used: mediation

Date ADR session was held: September 12, 2019

Outcome of ADR (Select one):

O Parties did not use my services. O Settled, in part, as a result of ADR
El Settled as a result of ADR. O Parties were unable to reach settlement
What was your TOTAL fee: $3,710.00

Duration of ADR: four (4) hours (i.e., one day, two hours)

Please list persons in attendance (including party association, defendant, plaintiff).

Please provide the names, address and telephone number of counsel on the reverse of this
form.

Please see attached

 

Provider information:

Cecilia H. Morgan

8401 North Central Expressway Suite 610
Dallas, TX 75225

214-744-5267

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Signature KS ~
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Alternative Dispute Resolution Summary
Continued

 

Please provide the names, addresses and telephone numbers of counsel:

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Richard ("Rex") J. Burch Esq. Crowe & Dunlevy
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Trent Latshaw with Defendant
Mark Cochran with Defendant
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CERTIFICATE OF SERVICE

| hereby certify that on this [5 16 day of \Coteh per , 2019, I electronically submitted

the foregoing document with the clerk of the court for the U.S. District Court, Northern District

of Texas.

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Cc Lili thy steph LHI
Judy Stephgnson, Case Manager

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